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5
     Attorney for Defendant
6    ELISEO PEREZ-GARCIA
7
8                                 IN THE UNITED STATES DISTRICT COURT
9                              FOR THE EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,             )            Case No. 1:05-cr-0510 OWW
                                           )
11                     Plaintiff,          )            STIPULATION TO VACATE STATUS
                                           )            CONFERENCE HEARING; AND ORDER
12         v.                              )            THEREON
                                           )
13   ELISEO PEREZ-GARCIA, et al.,          )
                                           )
14                     Defendants.         )
     _____________________________________ )
15
16          IT IS HEREBY STIPULATED by and between the parties hereto, and through their respective
17   attorneys of record, that the Status Conference Hearing in the above captioned matter, scheduled for
18   April 25, 2006 at 9:00 a.m. may be vacated.
19          DATED: April 21, 2006                                McGREGOR W. SCOTT
                                                                 United States Attorney
20
21                                                               /s/ Kevin P. Rooney
                                                                 KEVIN P. ROONEY
22                                                               Assistant U.S. Attorney
                                                                 Attorneys for Plaintiff
23
            DATED: April 21, 2006                                DANIEL J. BRODERICK
24                                                               Acting Federal Defender
25                                                               /s/ Mark A. Lizarraga
                                                                 MARK A. LIZARRAGA
26                                                               Assistant Federal Defender
                                                                 Attorneys for Defendant
27                                                               ELISEO PEREZ-GARCIA
28          THE ABOVE IS SO ORDERED.
            DATED:__April 27, 2006___                            /s/ OLIVER W. WANGER__________
                                                                 HON. OLIVER W. WANGER
                                                                 U.S. District Court Judge
                                                                 for the Eastern District of Califorina
